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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

 

SAVIENT PHARMACEUTICALS, INC.,
Civil Action No. 06-5782 (PGS)
Plaintiff,

¥.

SANDOZ, INC. AND UPSHER-SMITH — : ORDER
LABORATORIES, INC., :

Defendants.

 

This matter having been opened to the Court by way of Order to Show Cause seeking
temporary restraints on December 4, 2006 and supplemental affidavits having been submitted
thereafter, and for the reasons expressed on the record on this day, and for good cause shown,

IT IS on the 8" day of December 2006,

ORDERED that the temporary restraints placed in effect on December 4, 2006 shall be
vacated as of Tuesday, December 12, 2006 at 5:00 p.m.; and it is further

ORDERED that in accordance with 28 U.S.C. § 1292(b), this Court is of the opinion that
an immediate appeal from this order may materially advance the ultimate termination of the
litigation; and it is further

ORDERED that in light of same, this Court will grant permission of the parties to file an
interlocutory appeal on this issue; and it is further

ORDERED that the Order of this Court requiring that a bond be posted by Savient ts
vacated.

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December 8, 2006 PETER G. SHERIDAN, U.S.D.J.
